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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                                                                                      June 15, 2022
                      IN THE UNITED STATES DISTRICT COURT                          Nathan Ochsner, Clerk
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION


 BRIAN CHANCEY,                               §
                                              §
                Plaintiff,                    §
                                              §
 v.                                           §   CIVIL ACTION NO. 3:22-CV-34
                                              §
 BASF CORPORATION,                            §
                                              §
                Defendant.                    §

                       ORDER DENYING PLAINTIFF’S MOTION TO
                             APPOINT SPECIAL MASTER

       Pending before the Court is Plaintiff Brian Chancey’s Motion to Appoint Special Master

to Resolve Court’s Conflict of Interest. Dkt. No. 11. Having considered the pending motion, the

Defendant’s Response, the record, and the applicable law, the court is of the opinion that the

motion should be and is, therefore, DENIED.



       Signed this ___________
              on Galveston      day
                           Island   of15th
                                  this _________________,
                                           day of June, 2022.2022




                                                   _____________________________
                                                   Hon. Jeffrey V. Brown
                                                   United States District Judge




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